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 4   Telephone: (916) 554-2700
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 7
 8                     IN THE UNITED STATES DISTRICT COURT
 9                   FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )
                                           )   CASE NO. 2:99-CR-433 WBS
12              Plaintiff,                 )
                                           )   GOVERNMENT’S MOTION FOR AN
13        v.                               )   EXTENSION OF TIME TO RESPOND TO
                                           )   THE DEFENDANT’S § 2255 PETITION
14   HOANG NGUYEN, also known as           )
     BAO LU,                               )
15             Defendant.                  )
                                           )
16                                         )
17        The United States of America, through it’s attorneys of record,
18   Benjamin B. Wagner, United States Attorney, and William S. Wong,
19   Assistant U.S. Attorney, hereby submits this request for an extension
20   of time.
21        For the reasons set forth in Assistant U.S. Attorney William S.
22   Wong’s attached Declaration, the government requests an extension of
23   time to file its opposition to December 14, 2012.        The record in this
24   case (according to the docket) consists of numerous filings by the
25   defendant and his co-defendants, district court and appellate court
26   decisions related to this case, and other materials.         In an effort to
27   respond effectively and comprehensively to the defendant’s claims
28   raised in his amended § 2255 petition, the government needs time to

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 1   obtain adequately review its file and to research the case law and
 2   write its opposition to the defendant’s § 2255 petition.
 3        The indictment was returned in 1999 and litigation in this case
 4   has been ongoing for approximately 13 years.       The 2003 jury trial in
 5   this matter lasted approximately four weeks.       Furthermore, post-trial
 6   motions and appeals extended litigation in this matter to the
 7   present.
 8        Defendant LU’s conviction and sentence has been affirmed by the
 9   Court of Appeals and he is now serving a life sentence, plus 60
10   months in custody.   The granting of the government’s extension will
11   not serve to prejudice the defendant.
12        Counsel for the defendant, William Osterhoudt, has been
13   contacted and he has no objection to the government’s request for
14   this extension of time.
15    DATED: November 27, 2012              Respectfully submitted,
16                                          BENJAMIN B. WAGNER
                                            United States Attorney
17
18                                    By:   /s/ William S. Wong
                                            WILLIAM S. WONG
19                                          Assistant U.S. Attorney
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 1                        DECLARATION OF WILLIAM S. WONG
 2        I, William S. Wong, hereby declare as follows:
 3        1.     I am an Assistant U.S. Attorney for the Eastern District of
 4   California and was the counsel assigned to prosecute the case of
 5   United States v. John That Luong, etal, 2:99-CR-433-WBS, in which
 6   defendant BAO LU is a named co-defendant in that indictment.
 7        2.     Defendant LU was convicted by jury verdict after a four
 8   week-long trial in 2003 of Hobbs Act robbery and use of a firearm.
 9   This Court sentenced the defendant to a term of imprisonment of life,
10   plus 60 months in custody.    The defendant appealed his convictions
11   and sentence to the Ninth Circuit which affirmed his convictions and
12   sentence.
13        3.     In his amended § 2255 petition, the defendant raises
14   numerous and complicated legal issues which requires the government
15   to review the trial transcript of 2003, the pre-trial and post-trial
16   motions that were filed, the district court and appellate court
17   decisions in this case, and other materials in order to adequately
18   and comprehensively address the issues raised by the defendant.
19        4.     Counsel for the government has been extremely busy handling
20   his caseload and, in particular, counsel for the government recently
21   filed government responses to §2255 petitions in United States v.
22   Kenneth DeAndre Rodgers, CRS 03-371 MCE/EFB and United States v.
23   Shondor Janell Arceneaux, CRS 03-371 MCE/EFB.
24        5.     Because this case is an old case, the government needs
25   additional time to retrieve its file from storage.        I must then
26   locate the documents, trial transcripts, and other material in order
27   to effectively respond to the defendant’s § 2255 motion.
28   Furthermore, I will need time to research the many issues raised by

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 1   the defendant’s § 2255 motion and write the government’s opposition.
 2         6.   Since my last request for an extension of time, I have
 3   encountered difficulties in locating all of the transcripts, copies
 4   of motions, and other documents needed for a proper response to the
 5   defendant’s motion.      The voluminous nature of the case is very time-
 6   consuming in locating the necessary materials in order to perform an
 7   adequate legal research of case authority necessitated by the issues
 8   raised by the defendant.
 9         7.   I am currently scheduled for knee surgery on November 28,
10   2012 and will be unable to work for approximately a week or so.
11   After the surgery, I will still be limited in the number of hours I
12   can perform legal research.       It is my hope to complete the
13   Government’s response by December 14, 2012.
14         8.   The defendant is currently serving a life sentence and will
15   not be prejudiced by the government’s request for an extension of
16   time to December 14, 2012, in order to complete its research and to
17   write its opposition to the defendant’s § 2255 petition.
18         9.   I am also currently involved in researching and writing a
19   sentencing memorandum in the case of United States v. Huy Chi Luong,
20   CRS 99-433 WBS.     This memorandum is due to be filed in December 2012.
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22   ///
23   ///
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 1        10.     I spoke with defendant’s counsel, William Osterhoudt,
 2   apprising him of my request for this extension of time.         Mr.
 3   Osterhoudt graciously consented to my request and expressed that he
 4   has no objection to the government’s request for an extension of time
 5   to file its response to December 14, 2012.
 6        This I say under the penalty of perjury, and to the best of my
 7   knowledge.    Executed this 27th day of November, 2012, in Sacramento,
 8   California.
 9                                          /s/ William S. Wong
                                            WILLIAM S. WONG
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 8                      IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )
                                           )
12               Plaintiff,                )    CASE NO. 2-99-CR-433 WBS
                                           )
13        v.                               )    ORDER RE GOVERNMENT’S MOTION
                                           )    FOR AN EXTENSION OF TIME TO
14   HOANG NGUYEN, also known as           )    RESPOND TO THE DEFENDANT’S §
     BAO LU,                               )    2255 PETITION
15                                         )
                  Defendant.               )
16                                         )
17                                      ORDER
18        For the foregoing reasons and good cause having been shown in
19   the Government’s Motion for an Extension of Time to Response to the
20   Defendant’s § 2255 Petition is GRANTED and the government’s response
21   to defendant’s § 2255 petition is now due on December 14, 2012.
22   DATED:    November 28, 2012
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